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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )
                                             )          No. 6:18-CR-18-REW-HAI
 v.                                          )
                                             )
 TYLER SIMPSON,                              )                    ORDER
                                             )
         Defendant.                          )

                                       *** *** *** ***

        This matter is before the Court on the Recommended Disposition (DE #107) of United

States Magistrate Judge Hanly A. Ingram, addressing Defendant Tyler Simpson’s guilty plea to a

lesser-included offense under Count 1 of the Superseding Indictment (DE #20). Defendant

appeared before Judge Ingram on May 13, 2019. See DE #106 (Minutes). After consenting to plead

before a United States Magistrate Judge (see DE #108) and engaging in the full colloquy required

by Rule 11, Simpson proceeded to plead guilty to the lesser-included offense under Count 1 of DE

#20 (specifically, conspiracy to distribute 50 grams or more of a mixture or substance containing

a detectable amount of methamphetamine, see DE #109 ¶ 1). See DE #107 at ¶¶ 1–2. Judge Ingram

found Defendant competent to plead and concluded that Defendant did so in a knowing and

voluntary fashion; he further found that an adequate factual basis supported the plea as to each

essential element of the applicable charge. Id. at ¶¶ 2–3. Accordingly, Judge Ingram recommended

the Court accept Defendant’s plea and adjudge him guilty of the Count 1 lesser-included offense.

Id. at ¶ 4. Judge Ingram deferred acceptance of the plea agreement pending consideration attendant

to final sentencing. Id. at ¶ 5.



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       Per DE #107, Judge Ingram permitted the parties three days to object to the

Recommendation. Id. at 3. No party objected, and the time to do so has now passed. While this

Court reviews de novo those portions of a Report and Recommendation to which a party objects,

see 28 U.S.C. § 636(b)(1), it is not required to “review . . . a magistrate [judge]’s factual or legal

conclusions, under a de novo or any other standard, when neither party objects to those findings.”

Thomas v. Arn, 106 S. Ct. 466, 472 (1985). Where the parties do not object to the magistrate

judge’s recommended disposition, they waive any right to review. See Fed. R. Crim. P 59(b)(2);

United States v. White, 874 F.3d 490, 495 (6th Cir. 2017) ("When a party . . . fails to lodge a

specific objection to a particular aspect of a magistrate judge's report and recommendation, we

consider that issue forfeited on appeal."); see also United States v. Branch, 537 F.3d 582, 587 (6th

Cir. 2008) (noting that "[t]he law in this Circuit is clear" that a party who fails to object to a

magistrate judge's recommendation forfeits his right to appeal its adoption).

       The Court thus ADOPTS the Recommended Disposition (DE #107), accepts Simpson’s

guilty plea, and ADJUDGES him guilty of the identified lesser-included offense under Count 1

of the Superseding Indictment. The Court further formally CANCELS the jury trial as to this

Defendant. An Order scheduling Defendant’s sentencing will follow.

       This the 20th day of May, 2019.




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